                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION


Ohio Legal Rights Service,

            Plaintiff,

     vs.                                    Case No. 2:04-cv-384
                                            JUDGE GRAHAM
The Buckeye Ranch, Inc.,
et al.,

            Defendants.




                             OPINION AND ORDER


     Plaintiff Ohio Legal Rights Service (“OLRS”) brings this
action     under   the   Protection   and   Advocacy   for   Mentally   Ill
Individuals Act (“PAMII”), 42 U.S.C. §§10801-10851, and under Ohio
law, Ohio Rev. Code §5123.60(E) to obtain access to records from
Defendant the Buckeye Ranch, Inc. Defendant operates a residential
treatment facility for children with mental illness. OLRS seeks
access to two categories of records: (1) records relating to a 13-
year-old child who suffered a wrist injury in February 2004 while
residing at the Buckeye Ranch, and (2) logs maintained by the
Buckeye Ranch regarding its staff’s use of seclusion and restraint
techniques on children.        OLRS requests relief in the form of a
declaratory judgment and permanent injunction.               Also named as
defendants are the Buckeye Ranch’s President, Richard E. Reiser,
and Quality Improvement Director, Michelle Delery Stratman.
     This matter is before the Court on two related motions: the
Buckeye Ranch’s motion to dismiss the complaint for failure to
state a claim, and OLRS’s motion for summary judgment.                OLRS has
requested that the Buckeye Ranch’s motion to dismiss be treated as
a motion for summary judgment.           The Court agrees.      Attached to the
motion to dismiss are two letters not referenced in the complaint.
See Mot. to Dismiss, Exs. A, B.              Further, the motion to dismiss
refers to events that occurred after this action was filed.                Id.,
p. 10.      In briefing OLRS’s motion for summary judgment, both
parties     have   had   a     reasonable    opportunity   to   present    their
arguments and supporting materials.               Thus, the Buckeye Ranch’s
motion to dismiss will be treated as a motion for summary judgment.
See Fed. R. Civ. P. 12(b).
I.    Background
       A.   The Parties
       OLRS was created under Ohio law to “protect and advocate the
rights of mentally ill persons.” O.R.C. §5123.60(A). The Governor
of Ohio has designated OLRS as a protection and advocacy agency for
persons with mental illness, meaning that OLRS may exercise the
powers given under PAMII to such state agencies.                Pl.’s Mot. for
Summ. J., Ex A. (Executive Order 98-35V); 42 U.S.C. §10805.                OLRS
has   the   authority     to    pursue   legal,   administrative     and   other
remedies to ensure the protection of individuals with mental
illness who are receiving care or treatment in Ohio.              See 42 U.S.C.
§10805; O.R.C. §5123.60.
       The Buckeye Ranch is a not-for-profit corporation located in
Franklin County, Ohio.            Pl.’s Mot. for Summ. J., Ex. D.            The
Buckeye Ranch is licensed by the Ohio Department of Mental Health
as a mental health organization, and it operates a residential
treatment facility in which it provides care and community services


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for children with mental illness.          Defs.’ Mot. to Dismiss, p. 2.
The Buckeye Ranch also has a crisis center in which “many” of the
youth admitted are “not mentally ill or developmentally delayed.”
July 22, 2004 Decl. of Richard E. Reiser, ¶11.                According to Mr.
Reiser,     “approximately   twenty   percent     of    the   youth   receiving
residential or partial hospitalization treatment services from the
Buckeye Ranch . . . are in the custody of their parents,” while
eighty percent are in the custody of a governmental agency.                  Id.,
¶17.
       B.   Wrist Records
       In February 2004, OLRS received an incident report regarding
an injury to a 13-year-old child residing at the Buckeye Ranch.
See May 27, 2004 Decl. of Patrick Washburn, ¶11.              The report stated
that the child had been diagnosed with a buckle fracture of an
unknown cause.     Id., ¶12.   Mr. Washburn, an investigator for OLRS,
interviewed staff at the Buckeye Ranch about the incident.                   Id.,
¶13.    He found that the child had complained of pain in her wrist
in early February 2004 and was seen by a medical doctor, who
diagnosed her with a strain.          Id., ¶14.        On February 10, 2004,
restraints were used on the child three times in one day.              Id.    The
child again complained of wrist pain, and an x-ray was taken on
February 13.     Id.   The x-ray revealed a buckle fracture.           Id.    Mr.
Washburn concluded that, based on the incident report and his
interviews with staff, there was probable cause to believe that the
child had been abused or neglected and that she might be abused or
neglected in the future.       Id., ¶16.
       Mr. Washburn spoke with Michelle Delery Stratman on March 26,
2004 and requested access to the child’s records.                Id., ¶17.     On


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March 30, Ms. Stratman phoned Mr. Washburn and told him that he
could not review the records without the consent of the child’s
legal guardian. Id., ¶18. Ms. Stratman informed Mr. Washburn that
the child’s legal guardian was Franklin County Children Services.
Id., ¶19.
        On June 15, 2004, after this action was filed, the Buckeye
Ranch informed OLRS that it had contacted Franklin County Children
Services and obtained permission to disclose the child’s records to
OLRS.    Pl.’s Mot. for Summ. J., Ex. I.          According to Mr. Washburn,
certain records relating to the child were indeed disclosed to
OLRS, but other documents were not, such as daily progress reports,
counseling notes, and documentation of contra-indications for the
use of seclusion and restraint.1             July 1, 2004 Decl. of Patrick
Washburn, ¶8.
        C.   Seclusion and Restraint Logs
        The Buckeye Ranch maintains documentation of its staff’s use
of physical restraint and seclusion techniques on its residents.
Reiser       Decl.,   ¶9;   see   Ohio   Admin.    Code   §5122-26-16(D)(10)
(requiring agencies that care for mentally-ill individuals to
maintain such logs).
        Based on incident reports received by OLRS and investigations
it conducted, OLRS became concerned about “the number of incidents
of   alleged     abuse   and   neglect   occurring    during   seclusion   and
restraint as well as the nature of injuries during such episodes.”
June 2004 Decl. of Carolyn S. Knight, ¶¶7-10.             OLRS staff met with


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         The Buckeye Ranch initially argued that the complaint should be
dismissed as moot because OLRS had received the records it wanted. The
Buckeye Ranch withdrew that argument after OLRS stated that it had not
received all of the records it wanted.

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Mr. Reiser in July 2003 to discuss its concerns.     Id., ¶14.
     On December 16, 2003, OLRS sent a letter to the Buckeye Ranch
requesting monthly copies of the Buckeye Ranch’s seclusion and
restraint logs.   Defs.’ Mot. to Dismiss, Ex. A.    The letter stated
that OLRS was making the same request to children’s treatment
facilities around the state in an effort to develop a statewide
database of seclusion and restraint usage.         OLRS sent another
letter on February 18, 2004 repeating its request to the Buckeye
Ranch.   Defs.’ Mot. to Dismiss, Ex. B.
     On March 9, 2004, the Buckeye Ranch responded with a letter
stating that it is required to send its logs to the Ohio Department
of Mental Health.    Defs.’ Mot. to Dismiss, Ex. C.       The letter
suggested that if OLRS wanted the logs, it should obtain them from
the Department of Mental Health.         “The Buckeye Ranch is not
comfortable forwarding Seclusion and Restraint logs to an agency
that has not been charged with this responsibility.”     Id.
     In that same month, the Cincinnati Enquirer published a series
of newspaper article on widespread abuse and neglect of children in
state-funded treatment facilities. Pl.’s Mot. for Summ. J., Ex. F.
One of the facilities mentioned was the Buckeye Ranch.            OLRS
Executive Director Carolyn S. Knight read those articles.        Knight
Decl., ¶17.    This prompted Ms. Knight to write the Buckeye Ranch
once again to request copies of its seclusion and restraint logs.
Defs.’ Mot. to Dismiss, Ex. D.       Though the letter mentioned the
newspaper articles, Ms. Knight requested the logs for the purpose
of developing a database on seclusion and restraint usage.        There
is no evidence on the record that the Buckeye Ranch responded to
this letter.


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      On April 23, 2004, counsel for OLRS sent a letter to the
Buckeye    Ranch   again   requesting   access    to   the   seclusion   and
restraint logs.    Defs.’ Mot. to Dismiss, Ex. E.       OLRS asserted that
it had a right under PAMII and state law to review the logs.              On
May 4, counsel for the Buckeye Ranch responded by asserting that
OLRS had no such right.      Defs.’ Mot. to Dismiss, Ex. F.
      Ms. Knight states that she has concluded that probable cause
exists to believe that one or more children at the Buckeye Ranch
may have been subjected to abuse or neglect during incidents of
seclusion and restraint.      Knight Decl., ¶26.       Ms. Knight reached
this conclusion based on the number of incident reports received,
OLRS’s investigation of the Buckeye Ranch over a 2-year period, the
Cincinnati Enquirer articles, and the report of the wrist injury to
the 13-year-old child.      Id., ¶27.
II.   Standards of Review
      A.   Summary Judgment
      Under Fed. R. Civ. P. 56(c), summary judgment is proper “if
the   pleadings,    depositions,   answers   to    interrogatories,      and
admissions on file, together with the affidavits, if any, show that
there is no genuine issue as to any material fact and that the
moving party is entitled to a judgment as a matter of law.”              See
LaPointe v. United Autoworkers Local 600, 8 F.3d 376, 378 (6th Cir.
1993); Osborn v. Ashland County Bd. of Alcohol, Drug Addiction &
Mental Health Servs., 979 F.2d 1131, 1133 (6th Cir. 1992)(per
curium).   The party that moves for summary judgment has the burden
of showing that there are no genuine issues of material fact in the
case at issue, LaPointe, 8 F.3d at 378, which may be accomplished
by pointing out to the court that the nonmoving party lacks


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evidence to support an essential element of its case.           Barnhart v.
Pickrel, Schaeffer & Ebeling Co., L.P.A., 12 F.3d 1382, 1389 (6th
Cir.   1993).     In   response,   the    nonmoving    party   must   present
“significant probative evidence” to demonstrate that “there is
[more than] some metaphysical doubt as to the material facts.”
Moore v. Philip Morris Cos., Inc., 8 F.3d 335, 339-40 (6th Cir.
1993).    “[T]he mere existence of some alleged factual dispute
between the parties will not defeat an otherwise properly supported
motion for summary judgment; the requirement is that there be no
genuine issue of material fact.”         Anderson v. Liberty Lobby, Inc.,
477 U.S. 242, 247-48 (1986) (emphasis added); see generally Booker
v. Brown & Williamson Tobacco Co., Inc., 879 F.2d 1304, 1310 (6th
Cir. 1989).
       In reviewing a motion for summary judgment, “this Court must
determine whether ‘the evidence presents a sufficient disagreement
to require submission to a jury or whether it is so one-sided that
one party must prevail as a matter of law.’”          Patton v. Bearden, 8
F.3d 343, 346 (6th Cir. 1993)(quoting Anderson, 477 U.S. at 251-
53).   The   evidence,   all   facts,     and   any   inferences   that   may
permissibly be drawn from the facts must be viewed in the light
most favorable to the nonmoving party. Matsushita Elec. Indus. Co.
v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). See also Eastman
Kodak Co. v. Image Technical Servs., Inc., 504 U.S. 451, 456
(1992).   However, “[t]he mere existence of a scintilla of evidence
in support of the plaintiff's position will be insufficient; there
must be evidence on which the jury could reasonably find for the
plaintiff.”     Anderson, 477 U.S. at 252. See also Gregory v. Hunt,
24 F.3d 781, 784 (6th Cir. 1994).               Finally, a district court


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considering a motion for summary judgment may not weigh evidence or
make credibility determinations. Adams v. Metiva, 31 F.3d 375, 378
(6th Cir. 1994).
     B.   Declaratory Relief
     OLRS seeks declaratory relief under section 2201 of Title 28
of the United States Code.     That section provides that “any court
of the United States, upon the filing of an appropriate pleading,
may declare the rights and other legal relations of any interested
party seeking such declaration, whether or not further relief is or
could be sought.”   28 U.S.C. §2201.   A district court may issue a
declaratory ruling when a judgment: (1) will serve a useful purpose
in clarifying and settling the legal relationship in issue, and (2)
terminate and afford relief from the uncertainty, insecurity, and
controversy giving rise to the proceeding.      Grand Trunk Western
R.R. Co. v. Consolidated Rail Corp., 746 F.2d 323, 326 (6th Cir.
1984).
     The Court finds that this action is suitable for a declaratory
ruling on the issue of whether the Buckeye Ranch must disclose the
wrist records and the seclusion and restraint logs.        OLRS has
asserted a right under federal and state law to have access to
those records and logs.      A declaratory ruling will clarify the
parties’ rights and obligations and will terminate the parties’
uncertainty as to whether the records and logs must be disclosed.
     C.   Permanent Injunction
     OLRS also seeks permanent injunctive relief.       In order to
obtain a permanent injunction, plaintiff must demonstrate that
failure to issue the injunction is likely to result in irreparable
harm and that there is not an adequate remedy at law.        United


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States v. Szoka, 260 F.3d 516, 523 (6th Cir. 2001); Kallstrom v.
City of Columbus, 136 F.3d 1055, 1068 (6th Cir. 1998).                      In
addition, the plaintiff must demonstrate actual success on the
merits rather than a likelihood of success, as is required when a
preliminary injunction is requested.              University of Texas v.
Camenisch, 451 U.S. 390, 392, 101 S.Ct. 1830, 1832 (1981); Amoco
Production Co. v. Village of Gambell, 480 U.S. 531, 546 n. 12, 107
S.Ct. 1396, 1404 (1987).
        There is no dispute that a protection and advocacy agency’s
inability to meet its federal statutory mandate to protect and
advocate the rights of disabled people constitutes irreparable
harm.     See State of Connecticut Office of Protection and Advocacy
for    Persons   with   Disabilities   v.    Hartford   Bd.   of   Educ., 355
F.Supp.2d 649, 653 (D. Conn. 2005) (citing cases).            Further, there
is no dispute that the only adequate relief would be to require the
Buckeye Ranch to provide OLRS with access to the relevant records.
What the parties disagree over is whether OLRS can demonstrate
actual success on the merits of its claim that it is entitled to
access under federal and state law.
III.     Discussion
        A.   OLRS’s Statutory Authority under PAMII
        Congress enacted the Protection and Advocacy for Mentally Ill
Individuals Act to protect the rights of mentally ill individuals.
42 U.S.C. §§10801-10807. PAMII provides federal funding for states
to “establish and operate a protection and advocacy system for
individuals with mental illness which will (A) protect and advocate
the    rights    of   such   individuals    through   activities   to   ensure
enforcement of the Constitution and Federal and State statutes; and


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(B) investigate incidents of abuse and neglect of individuals with
mental illness if the incidents are reported to the system or if
there is probable cause to believe that the incidents occurred.”
42 U.S.C. §10801(b)(2).         In Ohio, OLRS has been created by statute
to    serve   as    a   protection    and     advocacy    system    and    has    been
designated as such by the governor.                  Ohio Rev. Code §5123.60;
Executive Order 98-35V.
       Protection and advocacy systems are authorized to “investigate
incidents of abuse and neglect of individuals with mental illness”
and    to   “pursue      administrative,       legal,    and   other    appropriate
remedies to ensure the protection of individuals with mental
illness who are receiving care or treatment in the state.” 42
U.S.C. §10805(a)(1)(A)-(B).           PAMII provides these systems with the
independent authority to pursue legal remedies to ensure the
protection     of       individuals    with     mental     illness.       42    U.S.C.
§10805(a)(1)(B).         This authority has led courts to conclude that
protection and advocacy systems have standing to bring actions for
declaratory        or   injunctive    relief    in   a   judicial      forum.      See
Protection & Advocacy For Persons With Disabilities v. Armstrong,
266 F.Supp.2d 303, 311-12 (D. Conn. 2003) (citing Kentucky Prot. &
Advocacy Div. v. Hall, et al., No. 3:01cv-538-H, slip. op. (W.D.
Ky. Sept. 24, 2001)).
       PAMII grants protection and advocacy systems access to the
records of three classes of individuals with mental illness.                        42
U.S.C. §10805(a)(4).        Two of these classes are not at issue in this
case.2      OLRS seeks access to the records of only the class of


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         Not at issue in this case are the classes of individuals set forth in
subsections (A) and (C) of §10805(a)(4). Under subsection (A), systems have
access to the records of any “individual who is a client of the system if such

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individuals described in subsection (B) of §10805(a)(4).                Under
this subsection, protection and advocacy systems have access to the
records of any individual:
     (i) who by reason of the mental or physical condition of
     such individual is unable to authorize the system to have
     such access;

     (ii) who does not have a legal guardian, conservator, or
     other legal representative, or for whom the legal
     guardian is the State; and

     (iii) with respect to whom a complaint has been received
     by the system or with respect to whom as a result of
     monitoring or other activities (either of which result
     from a complaint or other evidence) there is probable
     cause to believe that such individual has been subject to
     abuse or neglect.
42 U.S.C. §10805(a)(4)(B).
     If    the   requirements    of   subsection     (B)   are   satisfied,   a
protection and advocacy system is given access to “reports prepared
by any staff or faculty rendering care and treatment or reports
prepared    by   an   agency   charged     with   investigating   reports     of
incidents of abuse, neglect, and injury occurring at such facility
and the steps taken to investigate such incidents, and discharge
planning records.”      42 U.S.C. §10806(b)(3)(A).
     Any records obtained under PAMII by a protection and advocacy
system are subject to the same federal or state confidentiality
regulations that are applicable to providers of mental health


individual, or the legal guardian, conservator, or other legal representative
of such individual, has authorized the system to have such access.” 42 U.S.C.
§10805(a)(4)(A). Under subsection (C), systems have access to records of any
“individual with a mental illness who has a legal guardian, conservator or
other legal representative, and with respect to whom either (1) a complaint
has been made to the system, or (2) for whom there is probable cause to
believe his health or safety is in serious and immediate jeopardy, if the
system contacts the legal guardian, conservator or legal representative,
offers assistance to that person, but that person fails or refuses to act on
behalf of the person with a mental illness.” 42 U.S.C. §10805(a)(4)(C).

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services.     42 U.S.C. §10806(a).
       B.   OLRS’s Right to the Wrist Records under PAMII
             1.   The Child’s Capacity to Authorize Access
       The first requirement for access under subsection (B) is that
the individual is unable, by reason of a mental or physical
condition, to authorize the protection and advocacy system to have
access to her records.      OLRS argues that minors lack the capacity
to make informed health care decisions. The Buckeye Ranch counters
that minors have the mental capacity to make informed decisions in
many situations.      The Buckeye Ranch relies on case law concerning
a minor’s capacity to direct counsel in a legal proceeding.
       Minors in Ohio are presumed incompetent to make health care
decisions.     See, e.g., In re Guardianship of Crum, 61 Ohio Misc.2d
596, 603, 580 N.E.2d 876, 881 (Ohio Prob. Ct. 1991) (rule in Ohio
is “to allow the guardian of a minor to be empowered to make health
care decisions regarding the care of the ward”); In re Guardianship
of Stein, 105 Ohio St.3d 30, 44, 821 N.E.2d 1008, 1019-20 (2004)
(same).     Further, even if the Buckeye Ranch is correct that minors
do have the capacity to make informed decisions in some situations,
it has not proved that this is one of those situations.      Not only
is the child whose records OLRS seeks a minor, she is also mentally
ill.    Though Mr. Reiser has stated that the Buckeye Ranch has a
crisis center in which “many” of the children do not have a mental
illness, there is no allegation that the child here had been placed
in the crisis center.     Ms. Stratman states that the child broke her
wrist during her “residency” at the Buckeye Ranch.      July 22, 2004
Decl. of Michelle Delery Stratman, ¶5.      Given the Buckeye Ranch’s
primary function of operating a residential treatment facility for


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children with mental illness, it is fair to presume that the child
was mentally ill.      Indeed, several courts have held that “PAMII
does not require [a protection and advocacy system to] demonstrate
a   threshold    showing   of   mental     illness   on   the    part   of    [the
individual whose records are sought].”           Disability Law Center v.
Millcreek Health Center, 339 F.Supp.2d 1280, 1283-84 (D. Utah 2004)
(citing Protection & Advocacy For Persons With Disabilities v.
Armstrong, 266 F.Supp.2d 303, 314-16 (D. Conn. 2003)).                      As one
court found, “[d]emanding a conclusive, individualized showing of
. . . mental illness before permitting access would reserve a
gatekeeping function contrary to the specific terms and general
purpose of [PAMII].”       Michigan Protection & Advocacy Service, Inc.
v. Miller, 849 F.Supp. 1202, 1207 (W.D. Mich. 1994).
      Ms. Stratman has unhelpfully offered her conclusion that “the
youth did not and does not have a physical or mental condition
rendering   her    incapable    of   authorizing     access      to   the    Wrist
Records.”       Stratman Decl., ¶5.         See Morgan v. Church’s Fried
Chicken, 829 F.2d 10, 12 (6th Cir. 1987) (district court not
required to accept as true legal conclusions couched as a factual
statement).      According to Ms. Stratman, while the child was “a
resident at the Ranch, [she] communicated and expressed her wishes
in a variety of matters with staff at the Ranch.”               Stratman Decl.,
¶5.   The Court does not question the credibility of Ms. Stratman’s
statement that the child could express her wishes; however, Ms.
Stratman provides no further detail about the matters in which the
child expressed her wishes, the child’s ability to communicate, her
level of maturity, her awareness of her own needs, or her ability
to make decisions.     Without more, the Court is unprepared to find


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that the child had the capacity to authorize access to her records.
       The Court borrows from the reasoning in Millcreek, Armstrong,
and Miller in holding that, in order to obtain access to records
under 42 U.S.C. §10805(a)(4)(B), a protection and advocacy system
need not make a conclusive, individualized showing that a mentally-
ill    child    possesses     the    capacity    to   authorize   access   to   her
records. Congress charged protection and advocacy systems with the
duty       to   protect    and      advocate    the   rights   of   mentally-ill
individuals.        Congress endowed these systems with the express
authority to investigate incidents of abuse and neglect and to
obtain access to records.            It would be contrary to the language and
purpose of PAMII to deny OLRS access to the records of a mentally-
ill child, whom OLRS believes was abused or neglected, simply
because OLRS cannot not conclusively demonstrate that the child had
the capacity to authorize access to her records. The burden should
be on the facility treating or housing the child to show that the
child possesses the capacity to authorize a protection and advocacy
system to have access to her records.3
       The Court will afford the Buckeye Ranch an opportunity to make
such a showing.           The Buckeye Ranch is instructed to file within



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         Courts have similarly not required protection and advocacy systems to
make individualized showings that individuals do not have a legal guardian.
See Armstrong, 266 F.Supp.2d at 318 (placing “burden to show the presence of a
legal guardian, conservator or legal representative on the facility blocking a
[system’s] access”) (citing Cramer v. Chiles, No. 98-43-MISC-T-26A, slip op.
(M.D. Fla. Sept. 1, 1998)). If a treating facility objects to a request for
records on the grounds that the individual has a legal guardian other than the
State, then the facility carries the burden to provide contact information for
the individual’s guardian. See State of Connecticut Office of Protection and
Advocacy for Persons with Disabilities v. Hartford Bd. of Educ., 355 F.Supp.2d
649, 661 (D. Conn. 2005) (noting that “the statutes and regulations create a
responsibility on the part of an institution to provide contact information
for an individual’s ‘legal guardian, conservator, or other legal
representative’”).

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twenty (20) days of this Order a statement of whether it intends to
contest   that    the    child       in   this   case    lacked    the    capacity   to
authorize OLRS to have access to her records.
            2.    The Child’s Legal Guardian
      It is uncontested that the child’s legal guardian was Franklin
County    Children      Services      (“FCCS”).         See   Stratman     Decl.,    ¶6;
Washburn Decl., ¶19.          The parties disagree about whether FCCS is
the “State” for purposes of 42 U.S.C. §10805(a)(4)(B)(ii), which
requires that the individual either not have a legal guardian or
have the State as her guardian.             OLRS cites the federal regulation
interpreting this statutory section in arguing that FCCS fits
within the meaning of the “State” because the regulation says that
the individual’s guardian can be “the State or one of its political
subdivisions.” 42 C.F.R. §51.41(b)(2)(ii). OLRS alleges that FCCS
is a political subdivision of the State of Ohio.                  The Buckeye Ranch
contends that PAMII defines “State” in a way that excludes FCCS.
Under §10802(7), the “term ‘State’ means each of the several
States, the District of Columbia, the Commonwealth of Puerto Rico,
Guam, the Commonwealth of the Northern Mariana Islands, American
Samoa, the Virgin Islands, and the Trust Territory of the Pacific
Islands.’” 42 U.S.C.A. §10802(7). According to the Buckeye Ranch,
this means that a political subdivision of the State is not
included in the definition.
      The parties’ briefing on this issue is insufficient to enable
the   Court      to   reach      a    decision.          OLRS     cites    42   C.F.R.
§51.41(b)(2)(ii)        in    passing,      without      addressing       whether    the
regulation conflicts with the plain language of the statute or
whether FCCS is indeed a political subdivision of the State of


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Ohio.    Similarly, the Buckeye Ranch’s argument--that the statutory
definition          of   “State”   should      prevail   over     the       regulatory
interpretation--is raised in passing in a footnote.                     The Buckeye
Ranch does not address whether the regulation is a reasonable
interpretation of the statute or whether the FCCS can be considered
an arm of the State, as opposed to a political subdivision.
        Accordingly, both motions must be denied as to the issue of
whether the child’s guardian was the State.                   See Regents of the
Univ. of Calif. v. Doe, 519 U.S. 425, 429, 117 S.Ct. 900, 904
(1997) (requiring a close examination of “the nature of the entity”
in deciding if an agency is an arm of the State).                   The Court will
grant the parties leave of forty-five (45) days from the date of
this    Order       to   file   supplemental    briefs   on     this    issue,      with
responses due twenty-one (21) days thereafter.

               3.    Probable Cause
        The    final     prerequisite   of     subsection     (B)      is    that    the
protection and advocacy system have probable cause to believe that
an individual has been abused or neglected. The Buckeye Ranch does
not dispute that OLRS had probable cause to believe that the 13-
year-old child was abused or neglected while she resided at the
Buckeye Ranch.           Investigator Washburn states that he received an
incident report regarding a wrist injury to the child.                               Mr.
Washburn investigated the incident by interviewing Buckeye Ranch
staff.        Mr. Washburn concluded that, based on the incident report
and his staff interviews, there was probable cause to believe that
the child had been abused or neglected and might again be in the
future.
        It is well-settled that a protection and advocacy system is


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the “final arbiter of probable cause for the purpose of triggering
its authority to access all records for an individual that may have
been subject to abuse or neglect.”         Arizona Center for Disability
Law v. Allen, 197 F.R.D. 689, 693 (D. Ariz. 2000); see also
Armstrong, 266 F.Supp.2d at 321; Center For Legal Advocacy v.
Earnest, 188 F.Supp.2d 1251, 1257 (D. Colo. 2002); Iowa Prot. &
Advocacy Servs., Inc. v. Gerard Treatment Programs, L.L.C., 152
F.Supp.2d 1150, 1157 (N.D. Iowa 2001).
       Thus, OLRS has satisfied the third prerequisite of subsection
(B).       The Court will defer a decision on whether OLRS is entitled
to the wrist records under PAMII until the issues surrounding the
first two prerequisites are resolved.
       C.     OLRS’s Right to the Seclusion and Restraint Logs under
               PAMII
       OLRS sent several requests to the Buckeye Ranch for copies of
the Buckeye Ranch’s seclusion and restraint logs.               The Buckeye
Ranch denied the requests, stating that OLRS should obtain the logs
through the Department of Mental Health, to whom the Buckeye Ranch
had obligation to send them.        OLRS strenuously argues that it is
entitled to the logs because it has probable cause to believe that
one or more children at the Buckeye Ranch were abused or neglected
during incidents of seclusion and restraint.4
       The Buckeye Ranch responds that OLRS never made an attempt to
match its requests to the prerequisites of subsection (B) of
§10805(a)(4).      OLRS presented its requests for access to the logs


       4
          The complaint requests a permanent injunction requiring the Buckeye
Ranch to give OLRS access to seclusion and restraint logs on a monthly basis
in the future. In its motion for summary judgment, OLRS clarifies that it
seeks that injunction under Ohio law, not under PAMII. The relief OLRS seeks
under PAMII is a one-time production of the logs it requested in early 2004.

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as part of an attempt to collect data for a statewide database on
the use of seclusion and restraint techniques.
     The Court agrees with the Buckeye Ranch.               Upon reviewing the
letters sent by OLRS to the Buckeye Ranch, the Court finds that
OLRS based its requests on a need to “develop a statewide seclusion
and restraint baseline.”       Defs.’ Mot. to Dismiss, Ex. A.              There is
no evidence that, at the time it made its requests, OLRS had
determined there was probable cause to believe that abuse or
neglect had occurred at the Buckeye Ranch. Ms. Knight’s finding of
probable    cause   was   based   in   part    on   the   Cincinnati       Enquirer
articles, which were published after OLRS had already made several
requests for the logs. Even once the articles were published, OLRS
never conveyed to the Buckeye Ranch its determination that probable
cause existed to believe one or more children had been abused or
neglected during incidents of seclusion and restraint.
     The Court is certainly aware of OLRS’s important mission of
defending    mentally-ill      individuals      from      abuse    and     neglect.
Nonetheless, OLRS’s requests for the seclusion and restraint logs
were not based on a finding of probable cause.                    It is unclear
exactly when OLRS did find probable cause, but the Buckeye Ranch
was not informed of it.        The Buckeye Ranch cannot be faulted for
refusing to produce the logs when it did not know OLRS had probable
cause to believe that incidents of abuse or neglect had occurred.
Therefore, OLRS’s request for a declaratory judgment that the
Buckeye    Ranch    violated   PAMII   in     denying     OLRS    access    to   the
seclusion and restraint logs is denied.




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     D.    OLRS’s Right of Access under Ohio Law
            1.   O.R.C. §5123.60(E)(1)
     The complaint alleges that OLRS has a right to the wrist
records and the seclusion and restraint logs under Ohio law.            OLRS
has the right of “ready access” to “all records” relating to:
     the commitment, care, treatment, and habilitation of all
     persons represented by the legal rights service,
     including those who may be represented pursuant to
     division (L) of this section, or persons detained,
     hospitalized, institutionalized, or receiving services
     under this chapter or Chapter 340., 5119., 5122., or
     5126. of the Revised Code that are records maintained by
     the following entities providing services for those
     persons: departments; institutions; hospitals; community
     residential   facilities;   boards   of  alcohol,   drug
     addiction, and mental health services; county boards of
     mental retardation and developmental disabilities;
     contract agencies of those boards; and any other entity
     providing services to persons who may be represented by
     the service pursuant to division (L) of this section.

O.R.C. §5123.60(E)(1).
     The Buckeye Ranch argues that access is restricted to only the
records of persons represented by OLRS.          According to the Buckeye
Ranch, because the “persons detained” clause comes after the word
“including,” it is a subset of “persons represented”--in other
words, OLRS can get records for a person detained, hospitalized, or
institutionalized only if OLRS also represents that person.
     The   Court   disagrees     with   the    Buckeye    Ranch’s   statutory
interpretation. The statute uses parallel grammatical construction
in setting forth two categories of persons for whom OLRS may obtain
records.     The plain language of the statute gives OLRS access to
the records of “persons represented” by OLRS and to the records of
“persons detained, hospitalized, institutionalized, or receiving
services.”       The   word   “including”     clarifies    that   individuals

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represented     by     OLRS     under   O.R.C.        §5123.60(L)     (concerning
individuals who do not have a mental disability) count as “persons
represented.”    The    “including” clause is offset by commas on both
ends, thus modifying the “persons represented” language preceding
that clause, not the “persons detained” language following it.
       The Buckeye Ranch argues that this interpretation makes other
provisions of O.R.C. §5123.60 surplusage.                   The Buckeye Ranch
contends that O.R.C. §§5123.60(E)(2) and (H) would have no purpose
if OLRS can obtain under O.R.C. §§5123.60(E)(1) the records of
persons detained, hospitalized, and institutionalized.                  The Court
disagrees because subsections (E)(2) and (H) deal with more than
just    the   records     of     persons      detained,     hospitalized,       and
institutionalized.            Subsection     (E)(2)    gives   OLRS    access   to
“computerized data banks” of departments and boards.                   Subsection
(H) authorizes OLRS to issue subpoenas to compel “the appearance
and sworn testimony of any person the administrator reasonably
believes may be able to provide information or to produce any
documents, books, records, papers, or other information necessary
to carry out its duties.”
       The Court finds that OLRS has a right under Ohio law to obtain
access to the wrist records and the seclusion and restraint logs.
Under §5123.60(E)(1), OLRS’s right of access includes access to all
records maintained by a community residential facility relating to
the care and treatment of persons receiving services under Chapter
5119 of the Ohio Revised Code.          It is uncontested that the Buckeye
Ranch is a community residential facility and that the wrist
records and the seclusion and restraint logs relate to the care and
treatment of children residing at the Buckeye Ranch.                  Further, the


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children are receiving services under O.R.C. §5119, by which the
Ohio Department of Mental Health licenses agencies like the Buckeye
Ranch to operate community residential facilities for persons with
mental illness.     See O.R.C. §5119.22.
            2.    Interplay with HIPAA
     The Buckeye Ranch, however, argues that the Health Insurance
Portability and Accountability Act of 1996 (“HIPAA”) prohibits the
Buckeye   Ranch    from   disclosing     the   records.   HIPAA   and   the
regulations promulgated thereunder supersede any contrary state
law. 42 U.S.C. §1320d-7(a)(1). The Buckeye Ranch contends that it
will face civil and criminal penalties if it releases “individually
identifiable health information,” such as the records OLRS wants.
See 42 U.S.C. §1320d-6.
                   a.   “Required by Law” Exception
     OLRS responds that disclosure of the records fits within two
exceptions to HIPAA’s prohibition against disclosure: the “required
by law” exception and the “health oversight activities” exception.
The first exception is found in 45 C.F.R. §164.512(a), which
provides:
     (a) Standard: Uses and disclosures required by law.

         (1) A covered entity may use or disclose protected
     health information to the extent that such use or
     disclosure is required by law and the use or disclosure
     complies with and is limited to the relevant requirements
     of such law.

        (2) A covered entity must meet the requirements
     described in paragraph (c), (e), or (f) of this section
     for uses or disclosures required by law.




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45 C.F.R. §164.512(a).5         OLRS argues that disclosure of the records
is permitted under HIPAA because state law requires the Buckeye
Ranch to provide them to OLRS.
      The Buckeye Ranch argues that the “required by law” exception
involves    more    than     just     the    existence     of    a     law   requiring
disclosure.        The Buckeye Ranch relies on subparagraph (2) of
§164.512(a) in arguing that the requirements of paragraphs (c),
(e), or (f) must also be satisfied before a disclosure fits within
the “required by law” exception.                 The Buckeye Ranch contends that
none of those paragraphs apply here: paragraph (c) deals with
voluntary    reporting     of    abuse,      neglect     or     domestic     violence;
paragraph     (e)     deals      with       disclosures        for     judicial    and
administrative       proceedings;       and        paragraph     (f)     deals    with
disclosures for law enforcement purposes.
      The   Court    finds      the   Buckeye       Ranch’s     interpretation     of
paragraph (a) to be unpersuasive. Subparagraph (1) is an exception
that stands on its own, allowing a covered entity to make a
disclosure otherwise prohibited by HIPAA if that disclosure is
required by another law.              In disclosing the information, the
covered entity must simply comply with the requirements of the
other law--HIPAA imposes no further conditions.                        Only when the
disclosure involves the particular topics covered by paragraphs
(c), (e), or (f) must the covered entity also comply with the

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         HIPAA delegates broad authority to the Secretary of Health and Human
Services to promulgate standards for protecting the privacy of individually
identifiable health information. 42 U.S.C. §§1320d-1(d), 1320d-3(a),(b).
HIPAA and the regulatory standards promulgated by the Secretary expressly
“supersede any contrary provision of State law.” 42 U.S.C. §1320d-7(a)(1).
Both parties rely heavily on these regulatory standards, and neither party
argues that a conflict exists between one of the standards and the statutory
language of HIPAA.



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additional requirements set forth in those paragraphs. Because the
topics covered by paragraphs (c), (e), or (f) are narrow, the
“required by law” exception would lose its force if all required
disclosures had to fit within those topics in order for HIPAA to
permit them.
     A reading of the final commentary accompanying the HIPAA
regulations confirms that the Court’s interpretation is correct.
The commentary notes that the phrase “required by law” “is intended
to be read broadly to include the full array of binding legal
authority, such as constitutions, statutes, rules, regulations . .
. . [I]t encompasses federal, state or local actions with legally
binding effect . . . .”   65 Fed. Reg. 82462, 82668.   The commentary
states that §164.512(a) was generally meant not to interfere with,
or add onto, the requirements of those other laws:
     [W]e intend this provision to preserve access to
     information considered important enough by state or
     federal authorities to require its disclosure by law. .
     . . [S]uch required uses and disclosures arise in a
     myriad of other areas of law, ranging from topics
     addressing national security (uses and disclosures to
     obtain security clearances), to public health (reporting
     of   communicable    diseases),   to    law   enforcement
     (disclosures of gun shot wounds).      Required uses and
     disclosures also may address broad national concerns or
     particular regional or state concerns.         It is not
     possible, or appropriate, for [Health and Human Services]
     to reassess the legitimacy of or the need for each of
     these mandates in each of their specialized contexts.
65 Fed. Reg. 82462, 82667.    Paragraphs (c), (e), and (f) represent
“cases where particular concerns have been raised by legal mandates
in other laws.”   Id.     Where one of those particular concerns is
present, “we allow disclosure as required by law, and we establish
additional requirements to protect privacy (for example, informing
the individual as required in §164.512(c)) when covered entities

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make a legally mandated disclosure.”     Id.
     Albeit in the context of the Developmental Disabilities Bill
of Rights Act, the commentary specifically states that HIPAA does
not hinder the ability of protection and advocacy systems to
investigate abuse and neglect.   “[C]overed entities may make these
disclosures   under   §164.512(a)     without    first   obtaining   an
individual’s authorization, except in those circumstances in which
the [Developmental Disabilities] Act requires the individual’s
authorization.   Therefore, the rules below will not impede the
functioning of the existing Protection and Advocacy System.”         65
Fed. Reg. 82462, 82594.
     Here, Ohio law requires the Buckeye Ranch to provide OLRS with
access to the wrist records and the seclusion and restraint logs.
See O.R.C. §5123.60(E)(1).   The Buckeye Ranch itself admits that
these disclosures do not involve the topics covered in paragraphs
(c), (e), or (f) of 45 C.F.R. §164.512.        Paragraph (c), involving
victims of abuse, neglect, and domestic violence, is the only
paragraph that might apply at first glance; however, in the final
analysis, it does not apply because it pertains to situations in
which the covered entity suspects abuse or neglect and wishes to
voluntarily disclose it to authorities.    The situation in the case
at hand is different because it is OLRS, not the covered entity the
Buckeye Ranch, who suspects abuse or neglect and because the
Buckeye Ranch is not volunteering to make the disclosure.
     Accordingly, the Court finds that HIPAA does not prohibit the
Buckeye Ranch from making the disclosures that Ohio law requires it
to make.




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               b.    “Health Oversight Activities” Exception
     OLRS argues in the alternative that the “health oversight
activities” exception to HIPAA applies.      Under this exception, a
covered entity may disclose protected health information to:
     a health oversight agency for oversight activities
     authorized    by    law,    including     audits;    civil,
     administrative, or criminal investigations; inspections;
     licensure or disciplinary actions; civil, administrative,
     or criminal proceedings or actions; or other activities
     necessary for appropriate oversight of:
     (i) The health care system;
     (ii) Government benefit programs for which health
     information is relevant to beneficiary eligibility;
     (iii) Entities subject to government regulatory programs
     for which health information is necessary for determining
     compliance with program standards; or
     (iv) Entities subject to civil rights laws for which
     health information is necessary for determining compliance.

45 C.F.R. §164.512(d)(1).      HIPPA defines a “health oversight
agency” as:
     an agency or authority of the United States, a State, a
     territory, a political subdivision of a State or
     territory, or an Indian tribe, or a person or entity
     acting under a grant of authority from or contract with
     such public agency, including the employees or agents of
     such public agency or its contractors or persons or
     entities to whom it has granted authority, that is
     authorized by law to oversee the health care system
     (whether public or private) or government programs in
     which health information is necessary to determine
     eligibility or compliance, or to enforce civil rights
     laws for which health information is relevant.
45 C.F.R. §164.501.     OLRS argues that it is a health oversight
agency because it has been given authority under federal and state
law to protect the civil rights of persons with mental illness.
     The   Buckeye   Ranch   argues   that   the   “health   oversight
activities” exception does not apply because other state agencies
have been entrusted with oversight of the matters OLRS wants to

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investigate.     According to the Buckeye Ranch, public children
services agencies have the authority to investigate reports of
child abuse and neglect, see Ohio Rev. Code §5153.16, and the Ohio
Department of Mental Health has oversight of the use of restraint
and seclusion techniques in mental health facilities, see Ohio
Admin. Code §5122-30-17.         The Buckeye Ranch also points out that
protection and advocacy systems are not among the entities listed
in   the   commentary    to    the    regulations   as    examples   of   health
oversight agencies.      See 65 Fed. Reg. 82491.
      The Court finds that OLRS meets the definition of a health
oversight agency. The first requirement is that the entity seeking
access be an agency of the United States, a State, or a political
subdivision of a State.        Here, there is no dispute that OLRS, as a
state agency created by O.R.C. §5123.60, is either an arm of the
State of Ohio or is a political subdivision of Ohio--under HIPAA,
it does not matter which OLRS is.            Further, OLRS is authorized by
federal and state law to enforce civil rights laws for which health
information is relevant.             OLRS is charged with protecting and
advocating the rights of mentally ill persons.                 See 42 U.S.C.
§10801(b)(2)(B); Ohio Rev. Code 5123.60(A). OLRS has the authority
to investigate incidents of abuse and neglect of individuals with
mental illness and to pursue legal and administrative remedies to
ensure the protection of persons with mental illness who are
receiving    care   or        treatment      in   Ohio.      See     42   U.S.C.
§10805(a)(1)(A)-(B); Ohio Rev. Code 5123.60(A).             Federal and state
law both equip OLRS with the ability to gather health information
relevant in determining if the civil rights of a mentally ill
person has been violated. See 42 U.S.C. §10806(b)(3)(A); Ohio Rev.


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Code 5123.60(E).       In essence, OLRS performs the oversight function
of protecting mentally-ill individuals in Ohio.
     The    Buckeye     Ranch     argues      that     OLRS   cannot   be   a   health
oversight agency because other state agencies already oversee the
matters OLRS wants to investigate.               There is no support for this
argument in HIPAA or the regulations. The regulatory definition of
“health oversight agency” contains no exclusion of agencies whose
oversight authority may overlap with that of another agency.                      The
Buckeye Ranch’s argument is also contrary to public policy.                      OLRS
serves     to    protect   and    advocate       the     rights   of   mentally-ill
individuals. Under the Buckeye Ranch’s argument, OLRS cannot carry
out that duty because the individuals in question are children, who
are all the more vulnerable to abuse and neglect.                           It is not
unacceptable to have more than one agency overseeing the care and
treatment of these vulnerable members of society.
     The Buckeye Ranch also points out the omission of protection
and advocacy systems from the list of entities named in the
regulatory commentary as examples of health oversight agencies.
However,    it    is   clear     that   the     list    is    non-exclusive.      The
commentary notes that the list merely represents “examples” of such
agencies.       See 65 Fed. Reg. 82462, 82492.                The Court finds that
OLRS satisfies the plain language definition of a “health oversight
agency” in 45 C.F.R. §164.501.
     The Court further finds that OLRS was engaged in a health
oversight activity when it attempted to investigate whether the 13-
year-old child who suffered the wrist injury at the Buckeye Ranch
had been abused or neglected.              Included among “health oversight
activities” are civil and administrative investigations necessary


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for oversight of entities subject to civil rights laws for which
health information is necessary for determining compliance.                  OLRS
made its request for the wrist records in an effort to determine
whether the child’s civil rights had been violated while she
resided at the Buckeye Ranch.
      With respect to the seclusion and restraint logs, OLRS states
that it seeks ongoing and prospective production of the logs.6                The
Court finds that this too qualifies as a health oversight activity.
“Inspections” are among the health oversight activities enumerated
in the regulation.          Thus, OLRS may inspect those logs.
IV.   Conclusion
      For the reasons stated above, the Buckeye Ranch’s June 8, 2004
motion to dismiss (doc. 4) is GRANTED IN PART and DENIED IN PART,
and Ohio Legal Rights Service’s June 28, 2004 motion for summary
judgment (doc. 5) is GRANTED IN PART and DENIED IN PART.
      The   Court’s    rulings     with    respect   to   OLRS’s   request    for
disclosure    of      the     records     under   federal   law,    42   U.S.C.
§10805(a)(4)(B), are as follows: consideration of OLRS’s request
under PAMII for the wrist records of the 13-year-old child is
deferred until the parties submit supplemental briefing; and OLRS’s
request under PAMII for one-time production of the Buckeye Ranch’s
seclusion and restraint logs from early 2004 is denied.
      The   Court’s    rulings     with    respect   to   OLRS’s   request    for
disclosure of the records under Ohio law, O.R.C. §5123.60(E)(1),
are as follows: OLRS’s request for declaratory relief that it is
entitled under O.R.C. §5123.60(E)(1) to the wrist records and to


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         By contrast, OLRS’s request of the logs under PAMII was for a one-
time production of the early 2004 logs.

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ongoing and prospective access to seclusion and restraint logs is
granted; and disclosure of the records and logs is permitted under
the “required by law” and “health oversight activities” exceptions
to HIPAA, 45 C.F.R. §§164.512(a)(1) and (d)(1).      The Court notes
that the above rulings on the state law issues may render moot
OLRS’s request for disclosure of the wrist records under federal
law.
        The Buckeye Ranch is PERMANENTLY ENJOINED from denying OLRS’s
requests for the wrist records and the seclusion and restraint
logs.    The Buckeye Ranch is ordered to provide OLRS with access to
the wrist records and to all seclusion and restraint logs produced
since the filing of this lawsuit.
        It is so ordered.


                                 s/ James L. Graham
                                 JAMES L. GRAHAM
                                 United States District Judge

DATE: April 12, 2005




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